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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Manuel P. Asensio, individually and as the parent
of Eva Asensio, a minor child,

Plaintiffs,
-against- 18 CV-10933

Janet DiFiore, Chief Judge of New York
State; Barbara Underwood, Attorney General
of New York State Andrew M. Cuomo,
Governor of New York State; Adetokunbo O.
Fasanya, New York County Family Court
Magistrate; and Emilie Marie Bosak,

 

individually,
Defendants.
PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS:
AFFIDAVIT OF FACTUAL RESPONSES TO
DEFENDANT BOSAK’ S FALSE ASSERTIONS IN OPPOSITION
1. The Plaintiff, Manuel P. Asensio, has reviewed the Memorandum of Law in Support of

Defendant Bosak’s Motion to Dismiss dated February 14, 2019 (“Bosak’s Memorandum’). This
affidavit is filed in opposition to Bosak’s Memorandum and Motion to Dismiss. This affidavit
demonstrates that the factual allegations that Defendant Bosak used as the foundation for the legal
arguments contained in Bosak’s Memorandum are false and unresponsive. Defendant Bosak has
created her own allegations that do not address any of the allegations, facts, factors or
circumstances contained in the complaint. Defendant Bosak simply completely ignores the
Plaintiff's case and causes of action. Defendant Bosak’s most important fabrication is that any

litigation occurred in New York State that is applicable to this complaint.
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2. The actions taken by the State Defendants that are the subject of this complaint are entirely
outside of any conceivable authorized judicial or state act, in clear absence of subject matter
jurisdiction or personal jurisdiction over the Plaintiff. They are outside of any normal function of
a judge or a state official or normal acts performed by a judge or how parties deal with a normal
judge. The only reason that the State Defendants’ were able to take these illegal actions is that they
colluded with Defendant Bosak. The plain and simple fact is that New York State did not allow
any kind of due process, opposition or litigation concerning civil rights or domestic relations:!
a. against Defendant Bosak for having colluded with Defendant Fasanya on
December 3, 2013 to cause the Plaintiff’s false arrest which charges were dismissed
in the interest of justice
b. against Defendant Fasanya for having colluded with Defendant Bosak to protect
her from disclosure of her financial triangle with Stefano Chitis, her paramour, and
Susan Moss, one of her attorneys, in order to steal $444,688.22 from the Plaintiff
c. against Defendant Fasanya for fabricating fee orders without the slightest iota of
authority or jurisdiction, or legitimate reason or purpose
d. against Defendant DiFiore for having protected the collusion between Defendant
Bosak and Defendant Fasanya

e. against the illegal and fabricated January 15, 2016 “interim” suspension

 

' The complaint intentionally avoided using any domestic relations grievances as a cause of action to avoid any
possible claim that the DRE applies.
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f. against Defendant DiFiore’s authorization and participation in the vicious acts that
needed to be performed by the Defendants in order to execute the Plaintiff's March
22, 2016 arrest?

g. against the June 30, 2017 in-court arrest as part of the use of Carmen Restivo to
steal $99,153.22 from the Plaintiff without the slightest iota of authority or
jurisdiction, or legitimate reason or purpose

h. against Defendant Bosak’s violations of the divorce judgement

i. against Defendant Bosak’s material interference with the Plaintiff's relationship
with his daughter

j. against Defendant Bosak’s creation of an environment where Plaintiff's daughter
was continually exposed to Defendant Bosak’s drug use, sexual promiscuity,
exhibitionism, dangerous conduct and unsavory contacts that violate any principle

of decent or responsible parenting.

3. Defendant Bosak alleges that the Plaintiffs civil rights complaint is “nothing more than a
repackaging of his formally dismissed complaints and motions, which were all based on the same
set of facts and circumstances. Plaintiff Asensio now seeks to attack those adverse decisions, which
were matrimonial and custodial nature, under the guise of constitutional civil rights and
conspiracy claims decisions, which were matrimonial and custodial nature, under the guise of
constitutional civil rights and conspiracy claims.” This is false. Defendant Bosak’s allegations
that this complaint is an attack on “adverse decisions” is identical to the allegations made by the

State Defendants. The Plaintiff disapproved them in affidavit titled “Plaintiff's Factual Response

 

2 The charges underlying the arrest that were based on their December 29, 2015 fabrications were dismissed in
criminal court and stricken from the family court record.
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to the State Defendant's False Assertions in Opposition to Motion to Dismiss.” There was no
adjudication in New York State family court, or at the trial, appeal or constitutional levels
concerning custody or the civil rights and conspiracy issues, and there was never any matrimonial
matter at issue at all. The only custody rulings that existed before the May 15, 2014 Fasanya-
Bosak collusion incident, which caused the Plaintiff to withdraw, were in the Plaintiffs favor and
against Defendant Bosak. After the Plaintiff withdrew on May 15, 2014, Defendant Fasanya
denied Defendant Bosak’s Motion to dismiss the Plaintiffs petition. The ruling confirms
Defendant Bosak’s material interference with the Plaintiff's custody rights and that a substantial
change of custody circumstances had occurred that required a change in custody in favor of the
Plaintiff. Notwithstanding this win against Defendant Bosak, the Plaintiff withdrew from family

court.

4. Defendant Bosak alleges that “After Judge Fasanya entered his ruling, Plaintiff Asensio
withdrew his Family Court petitions in their entirety. A mere one month later, Plaintiff Asensio
continued his harassment by filing against Defendant Bosak in Supreme Court seeking the exact
same relief he had sought in Family Court.” This is false. The only custody “ruling” that existed
when the Plaintiff attempted to file a constitutional claim in Supreme Court’s family law part were
a dismissal order against Defendant Bosak’s Motion to Dismiss the Plaintiffs custody petition and
Defendant Fasanya’s ruling to strike Defendant Bosak’s testimony concerning the December 29,
2015 fabrication. This ruling left the January 15, 2016 without any legal or factual foundation.
Before the Plaintiff attempted to access Supreme Court’s matrimonial part, he had exercised his
right to withdraw his petitions from family court. The Plaintiff's right to withdraw and his

withdrawal were verified and accepted by Defendant Fasanya. For 2 years, the Plaintiff focused
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on his investigation into Defendant DiFiore’s post-divorce judgment custody petition, seeking
protection from Defendant Fasanya and Defendant Bosak’s ongoing collusion against him, and

securing a return of the money that was stolen from him through illegal acts.

5. Defendant Bosak refers to the Honorable Laura E. Drager’s June 26, 2017 Decision stating
that if the Plaintiff “felt there were issues, rulings that were made by the Family Court that he felt
were wrong, then his response would be to file an appeal of those Family Court Orders, not seek
to start the proceedings over in another Court.” First, Judge Drager has the duty and legal
obligation to restrain and take control of Defendant Fasanya who is an inferior judge in an inferior
limited jurisdiction court with no constitutional powers. This authority is given to her under CPLR
Article 78. Second, Judge Drager knew as she wrote this that the Appellate Division had declined
to regulate Defendant Fasanya and that it does not allow appeals of “interim” suspensions or
allegations of conspiracies, criminal acts to impose and collect fees, or charges of collusion. This
is exactly the issue and conduct that requires the federal court to assert jurisdiction over the matter
and proves that even a matrimonial judge will not address the corruption in New York State’s
fraudulent post-divorce judgment scheme. This is true regardless of the underlying facts and
circumstances alleged. Judge Drager is trained to claim to deny parent’s access to the state’s only
constitutional court. She is trained to claim that the matter has already been adjudicated in prior
proceedings in Family Court and to take claims of conspiracy and violation of constitutional rights
to the appeal court. Judge Drager, and like Judges Jaffe, Bannon and Goetz after her, were merely
repeating the “stone wall, lie, lie and lie again” mantra set down by Defendant DiFiore in her

December 5, 2016 letter to the Plaintiff that has already sent him to the appeal endless loop.
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6. Defendant Bosak alleges that the Plaintiff “delayed the proceedings by refusing to
compensate the Attorney for the Child for legal fees. Judge Fasanya issued a lengthy Decision
detailing Plaintiff Asensio’s harassing behavior and awarding Defendant Bosak counsel fees.”
Again, this is an example of the exact type of corruption that requires federal court intervention.
This order is a part of the fraudulent collusion between Defendants Bosak and Fasanya to fabricate
the events of December 29, 2015, the false arrest of March 22, 2016 to justify the January 15, 2016
fraudulent “interim” suspension, and the horrific acts of Richard Spitzer discussed in Rosemary
Barnett’s affidavit in support of the complaint and complaint itself. All the actions are sanctioned
and operated by Defendant DiFiore under the protection of the DRE. First, there was no motion
for legal fees pending. Second, the Plaintiff never consented to pay any fees to Carmen Restivo,
had no duty, obligation or interest in retaining Ms. Restivo or allowing her to contact his daughter.
Further, Defendant Fasanya has no authority to order a parent to pay fees to an 18-b lawyer. Third,
the Plaintiff had withdrawn on May 15, 2014 in response to witnessing Defendant Fasanya
colluding with Ms. Restivo before she had even been appointed in the family court case. On May
15, 2014, Ms. Restivo acted to create a false court record based on a unilateral series of actions
that Defendant Bosak took on Mother’s Day 2014. Specifically, the Plaintiff agreed to a very
generous schedule that allowed him to take Eva to church and Sunday School Classes in the
morning. Defendant Bosak without notice or cause appeared at the Plaintiffs residence before 8
A.M. on Mother’s Day 2014 with the police and persuaded the police to go upstairs to get the
daughter. The police attempted to dissuade Defendant Bosak but advised the Plaintiff to bring the
daughter down since Defendant Bosak was angry and irrational and could not be controlled. In
court on May 15, 2014, Defendant Fasanya literally directed Defendant Bosak and Ms. Restivo to

alternatively speak as they told Defendant Bosak’s entirely fabricated story while preventing the
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Plaintiff's counsel from opposing. The Plaintiff had witnessed his petitions being endlessly
adjourned since July 4, 2013 when Defendant Bosak violated the terms of the judgment by taking
Eva out of the country with notice and when Eva was scheduled to be with him. The same thing
occurred during Thanksgiving 2013. On December 5, 2013, Defendant Bosak also called the
police to Eva’s school to fabricate an incident and took Eva wrongfully. Defendant Fasanya
colluded with Defendant Bosak to allow her abuses. On May 15, 2014, the Plaintiff gave notice of
his withdrawal, dismissed his counsel, and filed formal actions against Defendant Fasanya and that
under no circumstance whatsoever would he agree, consent or acquiesce to maintain any exposure
to Defendant Fasanya or Ms. Restivo. Shortly after May 15, 2014 the Plaintiff hired new counsel

to formal process his withdrawal.

7. Defendant DiFiore allowed Defendant Fasanya to use thirteen (13) contempt and arrest
orders to force the Plaintiff to pay $99,153.22 without the slightest trace of legitimate reason or
purpose. Unequivocally, as a matter of fact and law, Defendant Fasanya has no authority, right, or
discretion to obligate the Plaintiff to consent to Ms. Restivo’s appointment or to agree to Ms.
Restivo’s hourly rate or spends as much time as she wishes on his case, much less allow Ms.

Restivo unfettered, unsupervised access to his daughter.

8. On the contrary, Defendant Fasanya is obligated by statute to closely monitor and report
the amount of money Ms. Restivo is paid as his judicial appointee per case, and in total, per year.
This information is used to verify that Defendant Fasanya is complying with the law and not
overpaying Ms. Restivo in any one case or over a period. These regulations are designed to prevent
kickbacks to judges in any form and undue influence by appointees. Defendant Fasanya is required

by law to have New York County pay Ms. Restivo’s bill at low 18-b rates, not the Plaintiff. In any
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case, the Plaintiff never consented to Ms. Restivo’s appointment and Defendant Fasanya appointed
Ms. Restivo over the Plaintiff's opposition. The Plaintiff's withdrawal was deliberate act to protect
his daughter from having any contact with Ms. Restivo and to eliminate the Plaintiff's exposure to

Ms. Restivo’s fees.

9, Based upon information and belief, between September 2015 and January 15, 2016 spoke
with Ms. Restivo who spoke with Defendant Fasanya to make arrangement with Defendant
Bosak’s counsel, Susan Moss, executed the January 15, 2016 fraud based on December 29, 2015
fraud. It was identical to the scheme the foursome executed on May 15, 2014. Their new plan
was to suspend the Plaintiff's parenting access without evidence, charges, hearing, decision or
reasoning and to then force the Plaintiff to see his daughter under the supervision of Richard
Spitzer of Comprehensive Family Services. This is what Defendant Fasanya did on January 15,
2016. Asa result, the Plaintiff has not seen or had contact with his daughter since January 15,
2016, over 4 years and has been plummeted with retaliatory fraudulent unilateral fees order of

$225,688.22 to Ms. Restive and Defendant Bosak who has been protected against discovery.

10. | Defendant Bosak asserts that “there is no obstacle to a full and fair determination of the
issues in the state courts, as Plaintiff Asensio originally filed in these courts but subsequently
voluntarily withdrew his actions the moment he become dissatisfied with the outcome of the
proceedings.” Again, the Plaintiff had won a motion to dismiss when he withdrew. This occurred
back in May 15, 2014 but the collusion between Defendant Fasanya and Defendant Bosak started
on December 5, 2013. Defendant Bosak’s testimony concerning the December 29, 2015 scam was

stricken from the record. The issue in this case is collusion between Defendant Bosak and
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Defendant Fasanya to execute the December 29, 2015/January 15, 2016 fraud and the fabrication
of $225,688.22 in fees. These were sanctioned and directed by Defendant DiFiore. Defendant
Bosak has collected $3,000 a month from the Plaintiff since April 1, 2013 and New York State has
colluded with Defendant Bosak to protect her while she constantly violated the Plaintiff's rights
and to have the Plaintiff arrested twice and to steal $225,688.22, and here over 6 years later,
Defendant Bosak claims that there is no obstacle to a full and fair determination of the issues in
the state courts.” Clearly, this shows that New York State is fully confident that this court will
protect it. How else could Defendant Bosak’s behavior be reasonably explained?

11. I, Manuel P. Asensio, swear that I am the Plaintiff in the above cited complaint, and the
affiant in this Affidavit. I swear that I am fully familiar with the facts, factors and circumstances
contained in this affidavit. I solemnly swear that the statements I make are complete and true to

the best of my knowledge including any matters stated upon personal information and belief.

I do so swear:

Pe cf horns

Manuel P. Asensio
Plaintiff, Pro Se

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May 10, 2019
